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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

                                    CLERK'S MINUTES


 CASE NO. 8:22-cv-2227-SDM-SPF                     DATE: August 2, 2023

 HONORABLE: SEAN P. FLYNN, U.S. MAGISTRATE JUDGE

 PROCCOR PHARMACEUTICALS, INC.                     George Conwell
                                                   Attorney for Plaintiff
 v.

 WORLD HEALTH PRODUCTS LLC, et al                  Edward McHale
                                                   Andrew Lockton
                                                   Attorneys for Defendants

 COURTROOM DEPUTY: Eric Calderon                   COURTROOM: 11 B

 INTERPRETER / LANGUAGE: N/A

 TIME: 10:00 – 10:45                TOTAL: 0:45        COURT RPTR: Digital

 PROCEEDINGS: DISCOVERY HEARING

 Defendants filed Motions for Protective Orders.
 Plaintiff filed a Memorandum in Opposition.
 Defendants filed a Reply.

 Plaintiff filed a Motion to Compel.
 Defendants filed a Response in Opposition.
 Plaintiff has filed Reply.

 The parties did not present any witnesses.

 Court hears oral arguments.

 Court: grants Motion to Compel in part, Defendant to provide Plaintiff Deposition dates
 by 8/9/23.

 Court: Motions Protective Orders are granted in part and denied in part.

 Court Order to follow.
